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UNITED STATES DISTRICT COURT                                                DATE FILED: 12/17/2019
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------------------------X
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UNITED STATES OF AMERICA                                                :
                                                                        :    2 cr. 1144 (VEC)
         - v. -                                                         :
                                                                        :        ORDER
Bernard J. Ebbers,                                                      :
                                                                        :
                                          Defendant.                    :
------------------------------------------------------------------------X
VALERIE CAPRONI, United States District Judge:

        IT IS HEREBY ORDERED that the hearing currently scheduled for

Wednesday, December 18, 2019, will be held in Courtroom 15C, 500 Pearl Street.


        SO ORDERED:

Dated:           New York, New York
                 December 17, 2019



                                                     __________________________________
                                                        ______________________
                                                                            _ _______
                                                                       CAPRONI
                                                             VALERIE CAPRO  ONI
                                                        United States District Judge
